_ Case 2:05-CV-02258-SHI\/|-tmp Document 15 Filed 07/06/05 Page 1 of '3 Page|D.lS

 

IN THE UNITED sTATES DISTRICT coURT W"°Y -- `m°'
FoR THE WE:VTEE§I:IE§EI”§§?STK<))§ TENNESSEE 05 M _B m 32 ‘ 6
AUBRY oDoM, %W
Plaimiff, § m `
vs. No. 05-2258-Ma/P
MAN.LD

SHELBY COUNTY GOVERNMENT, et al.,

Defendants.

 

ORDER GRANT]NG MOTION OF DEFENDANTS SHELBY COUNTY,
MAYOR A C WHARTON, JR., SHELBY COUNTY SHERIFF’S DEPARTMENT, MARK
LUTTRELL, JR., AND JAMES COLEMAN FOR AN ENLARGMENT OF TIME ]N WHICH
TO FILE A R.ESPONSIVE PLEADING AND/OR A RULE 12 MOTION

 

Defendants Shelby County, Mayor A C Wharton, Jr., Shelby County Sheriff' s Department,
Mark Luttrell, Jr. and J ames Coleman, have moved the Court to enlarge the time in Which they may
file a responsive pleading and/or a Rule 12 motion in this cause. Counsel for the Plaintiff and co-
Defendant Cooper have consented to the enlargement For good cause shown, these Defendants
may have request for an enlargement of sixty (60) days from the date of the entry of this Order

Within Which to file responsive pleadings and/or a Rule 12 motion.

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JUDGE

IT IS SO ORDERED.

 

 

Date: r\-\U\':> ls 3 w-(

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Respectfully submitted,

    

RA L. FESSENDE #11818
Assistant Shelby County Attorney
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CERTIFICATE OF SERVICE
I, Debra L. Fessenden, do hereby certify that a true and correct copy of the foregoing has
been served upon Mr. Evan Nahmias and Ms. Lisa Overall, Attorneys at LaW,119 South Main
Street, Suite 400, Memphis, Tennessee 38103; and to Mr. Jerry O. Potter and Mr. Stephen G.
Smith, II, Attorneys at Law, 119 South Main Street, Suite 300, Memphis, Tennessee 38103 via

U.S. First Class mail, postage prepaid, on this the 5 day of July, 2005.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02258 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

ESSEE

 

Debra L. Fessenden

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Honorable Samuel Mays
US DISTRICT COURT

